




PER CURIAM HEADING




		NO. 12-01-00378-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


JERSEY ADAMS, ET AL., AND B &amp; H

ROYALTY COMPANY, A TEXAS

PARTNERSHIP, ET AL.,§
	APPEAL FROM THE 241ST

APPELLANTS


V.§
	JUDICIAL DISTRICT COURT OF


SMITH COUNTY, TEXAS, ET AL.,

APPELLEES§
	SMITH COUNTY, TEXAS






PER CURIAM


	This appeal is being dismissed for want of jurisdiction because Appellants have failed, after
notice, to provide this court with a final judgment or an appealable order.  The notice of appeal in
this case was filed on December 26, 2001.  At the time of the filing of the notice of appeal, a final
judgment or appealable order had not been signed.  On January 30, 2002, this court notified
Appellants that the appeal would be dismissed unless a final judgment or appealable order was
provided on or before April 1, 2002.  On February 18, 2002, Appellants informed this court that this
appeal was stayed because of bankruptcy proceedings filed by the insurance carrier of one of the
Appellees.  On February 20, 2002, this court notified Appellants that the appeal would be dismissed
unless either a final judgment or appealable order or a notice of bankruptcy pursuant to Tex. R. App.
P. 8.1. was provided on or before March 4, 2002.  As of March 7, 2002, Appellants have not
responded to our February 20 notice.  Accordingly, because an appeal may only be taken from a 
final judgment or an appealable order, City of Houston v. Kilburn, 849 S.W.2d 810, 811 (Tex.
1993), this appeal is dismissed for want of jurisdiction.     	

Opinion delivered March 11, 2002.

Panel consisted of Davis, C.J., Worthen, J., and Griffith, J.


DO NOT PUBLISH



